
Opinion by
Wright, J.,
William J. Levan has appealed from an order of the Court of Common Pleas of Berks County dismissing his petition for a writ of habeas corpus.
We have carefully reviewed the original record. It reveals that, on June 1, 1959, Levan pleaded guilty to bills of indictment charging robbery. Sentences were imposed and Levan is presently confined in the State Correctional Institution at Huntingdon.
The sole question raised by appellant is that he was denied due process because he was not represented by counsel at the time he entered his pleas of guilty! It appears from the transcript of the proceedings that the sentencing judge advised appellant of his con*538stitutional rights and offered to provide counsel. Appellant stated that he did not desire counsel and freely related his participation in the several felonies. We are of the opinion that the case of Gideon v. Wainwright, 372 U.S. 335, 83 S. Ct. 792, 9 L. Ed. 2d 799, relied upon by appellant, is not controlling in this situation. Appellant understood the nature of the charges against him and intelligently waived his right to counsel. There was no ingredient of unfairness or deprivation of due process. Cf. Commonwealth ex rel. Fordham v. Rundle, 202 Pa. Superior Ct. 535, 198 A. 2d 4181.
Order affirmed.
